Case 2:87-cr-00422-JAK      Document 2305 Filed 08/10/98        Page 1 of 1 Page ID
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                         IINITED STATES DISTRICT COORT
                        CENTRAL DISTRICT OF CALIFORNIA


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 Through stipulation of counsel in this acti    nd/or by order        f        ""'           'TRICTCOURT
 all exhibits listed                one
 are being returned to:    ~ ~                                                            ~a
            counsel for the prevailing party
            counsel who proffered the exhibit s)
                                                                     BY~i~                        ~D~PUTY
rexetpt the following exhibit s)                      2-~3

                                           which will be retained by the Court.

 Counsel her     declare that these exhibits shall be retained in (circle one)
 his/her/ eir custody in a secure place and will not be altered -r~~.om*       d
 until after the time for an appeal of the (circle one) verdict~~~T~~~~ e
 expired or until such time as all pending appeal(s) have been c mp           ~3 ~ r- ,.,
 decision s) rendered. Counsel further agree that such exhibits s al be returned
 to this Court upon request by the Court an upon eventy-two (7 ) h'       ok~~C~~

 Date                   Signature                                  •.
 Print N e       ,~ ~~~'~"py~.     C u se       r:    intf   defendt/ _3rd                  y ~~
 Phone Number (Z('~ )~~/ ~{_ Q6/9'

 Date   1 ~3) ~~           si~~ture
 Print Name          ~i~r.~, P'q      Counsel f r` p1a' t    defendt/ 3rd party
 Phone



                     E%HIBIT RELEASE BY E%HIBITS CUSTODIAN

 The following exhibit(s), descriptions indicated on the exhibit list(s),




                                             have/has been returned to me.

(NOTE:   List returns by exhibit number or letter, if only a portion of the
exhibit is to be released, identify only the released material.)

Date
I.D. No.
(Govt. I.D. / Driver's Lic.)

 cc:   Judge
      Counsel signing document
      Exhibits custodian
 M- 54 (9/92)              EXHIBIT RELEASE TO COUNSEL                               .-`              ~S

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